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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
        United States of America,
 8                           Plaintiff,
                                                        CR17-87-TSZ
 9         v.
                                                        ORDER
10      Fredy Ramon Gutama-Gutama, et al.,
11                           Defendants.

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            THIS MATTER having come before the Court on the joint motion filed by
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     plaintiff United States of America and defendant Fredy Ramon Gutama-Gutama for a
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     continuance of the trial and the pretrial motions due date, docket no. 37, and the Court
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     having considered the facts set forth in the motion, the speedy trial waiver executed by
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     defendant Fredy Ramon Gutama-Gutama, and the records and files herein, the Court
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     enters the following order:
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            1.     A failure to grant the continuance would deny defense counsel the
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     reasonable time necessary for effective preparation, taking into account the exercise of
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     due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the
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     failure to grant a continuance in the proceeding would be likely to result in a miscarriage
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 1 of justice, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i). The case is sufficiently

 2 complex that it is unreasonable to expect adequate preparation, within the meaning of

 3 18 U.S.C. § 3161(h)(7)(B)(ii).

 4         2.     The ends of justice will be served by ordering a continuance in this case, as

 5 a continuance is necessary to ensure adequate time for the defense to effectively prepare

 6 for trial. All of these factors outweigh the best interests of the public and defendant in a

 7 more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).

 8         For the foregoing reasons, the joint motion to continue trial as to defendant Fredy

 9 Ramon Gutama-Gutama, docket no. 37, is GRANTED. The trial date shall be continued

10 from July 17, 2017, to November 13, 2017. Pretrial motions are to be filed no later than

11 September 14, 2017.

12         IT IS FURTHER ORDERED that the resulting period of delay from the date of

13 this Order until the new trial date is hereby excluded for speedy trial purposes under

14 18 U.S.C. § 3161(h)(7)(A) and (B).

15         IT IS SO ORDERED.

16         Dated this 23rd day of June, 2017.

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                                                      A
                                                      Thomas S. Zilly
                                                      United States District Judge
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     ORDER - 2
